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                                      13   Attorneys for Plaintiff,
                                      14   Mark Marmolejo
                                      15                          UNITED STATES DISTRICT COURT
                                      16                         CENTRAL DISTRICT OF CALIFORNIA
                                      17   MARK MARMOLEJO,                         Case No.:
                                      18                                           COMPLAINT FOR DAMAGES
                                                        Plaintiff,                 FOR VIOLATIONS OF:
                                      19
                                                            v.                        I.    THE FAIR DEBT
                                      20                                                    COLLECTION
                                           MIDLAND CREDIT                                   PRACTICES ACT, 15
                                      21                                                    U.S.C. §§ 1692, ET SEQ.;
                                           MANAGEMENT, INC.,                                AND,
                                      22
                                                        Defendant.                    II.   THE ROSENTHAL FAIR
                                      23                                                    DEBT COLLECTION
                                                                                            PRACTICES ACT, CAL.
                                      24                                                    CIV CODE §§ 1788, ET
                                                                                            SEQ.
                                      25
                                      26                                           JURY TRIAL DEMANDED
                                      27
                                           ///
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                                           COMPLAINT FOR DAMAGES
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                                      1                                     INTRODUCTION
                                      2      1. The United States Congress has found abundant evidence of the use of
                                      3         abusive, deceptive, and unfair debt collection practices by many debt
                                      4         collectors, and has determined that abusive debt collection practices
                                      5         contribute to the number of personal bankruptcies, to marital instability, to
                                      6         the loss of jobs, and to invasions of individual privacy. Congress wrote the
                                      7         Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate
                                      8         abusive debt collection practices by debt collectors, to insure that those debt
                                      9         collectors who refrain from using abusive debt collection practices are not
                                      10        competitively disadvantaged, and to promote consistent State action to
                                      11        protect consumers against debt collection abuses.
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                                      12     2. The California legislature has determined that the banking and credit system
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                                      13        and grantors of credit to consumers are dependent upon the collection of just
                                      14        and owing debts and that unfair or deceptive collection practices undermine
                                      15        the public confidence that is essential to the continued functioning of the
                                      16        banking and credit system and sound extensions of credit to consumers. The
                                      17        Legislature has further determined that there is a need to ensure that debt
                                      18        collectors exercise this responsibility with fairness, honesty and due regard
                                      19        for the debtor’s rights and that debt collectors must be prohibited from
                                      20        engaging in unfair or deceptive acts or practices.
                                      21     3. MARK MARMOLEJO (“Plaintiff”) brings this Complaint for damages,
                                      22        injunctive relief, and any other available legal or equitable remedies,
                                      23        resulting from the illegal actions of MIDLAND CREDIT MANAGEMENT,
                                      24        INC. (“Defendant”) with regard to attempts by Defendant to unlawfully and
                                      25        abusively collect an debt allegedly owed by Plaintiff, in violation of Federal
                                      26        and California State debt collection laws.
                                      27
                                      28

                                           COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF                         PAGE 1 OF 7
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                                      1      4. Plaintiff alleges as follows upon personal knowledge as to herself and her
                                      2         own acts and experiences, and, as to all other matters, upon information and
                                      3         belief, including investigation conducted by their attorneys.
                                      4      5. Plaintiff makes these allegations on information and belief, with the
                                      5         exception of those allegations that pertain to a plaintiff, or to a plaintiff's
                                      6         counsel, which Plaintiff alleges on personal knowledge.
                                      7      6. While many violations are described below with specificity, this Complaint
                                      8         alleges violations of the statutes cited in their entirety.
                                      9      7. Unless otherwise stated, Plaintiff alleges that any violations by Defendant
                                      10        were knowing and intentional, and that Defendant did not maintain
                                      11        procedures reasonably adapted to avoid any such violation.
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                                      12     8. Unless otherwise indicated, the use of any Defendant’s name in this
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                                      13        Complaint includes all agents, employees, officers, members, directors,
                                      14        heirs,   successors,   assigns,   principals,    trustees,    sureties,   subrogees,
                                      15        representatives, and insurers of that Defendant named.
                                      16                               JURISDICTION AND VENUE
                                      17     9. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                      18        1692k and 28 U.S.C. § 1367 for supplemental state claims.
                                      19     10. This action arises out of Defendant’s violations of (i) the Fair Debt
                                      20        Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”); and, (ii) the
                                      21        Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788, et seq.
                                      22     11. Because Defendant conducts business within the State of California,
                                      23        personal jurisdiction is established.
                                      24     12. Venue is proper in the United States District Court, Central District of
                                      25        California pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                      26        Plaintiff resides in the County of Santa Barbara, State of California which is
                                      27        within this judicial district; (ii) the conduct complained of herein occurred
                                      28        within this judicial district; and, (iii) Defendant has engaged in business at


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                                      1             all times relevant while within this judicial district.
                                      2                                                PARTIES
                                      3          13. Plaintiff is a natural person who resides in the City of Santa Maria, County
                                      4             of Santa Barbara, State of California, from whom a debt collector sought to
                                      5             collect a consumer debt which was due and owing or alleged to be due and
                                      6             owing from Plaintiff, and is a “debtor” as that term is defined by California
                                      7             Civil Code § 1788.2(h). In addition, Plaintiff is a “consumer” as that term is
                                      8             defined by 15 U.S.C. § 1692a(3) as well as Cal. Civ. Code § 1785.3(c).
                                      9          14. Plaintiff is informed and believes, and thereon alleges, that Defendant is a
                                      10            California debt collection company operating from the County of San Diego,
                                      11            State of California.
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                                      12         15. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
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                                      13            ordinary course of business, regularly, on behalf of itself, engages in debt
                                      14            collection as that term is defined by California Civil Code § 1788.2(b), and
                                      15            is therefore a “debt collector” as that term is defined by California Civil
                                      16            Code § 1788.2(c).
                                      17         16. This case involves money, property or their equivalent, due or owing or
                                      18            alleged to be due or owing from a natural person by reason of a consumer
                                      19            credit transaction. As such, this action arises out of a “consumer debt” and
                                      20            “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                      21                                    FACTUAL ALLEGATIONS
                                      22         17. At all times relevant, Plaintiff is an individuals residing within the State of
                                      23            California and within this judicial district.
                                      24         18. At all times relevant, Defendant conducted business in the State of
                                      25            California.
                                      26         19. Sometime prior to October 2014, Plaintiff allegedly incurred financial
                                      27            obligations to the original creditor.
                                      28   ///


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                                      1      20. These alleged finance obligations were money, property, or their equivalent,
                                      2         which is due or owing, or alleged to be due or owing, from a natural person
                                      3         to another person and were therefore “debt[s]” as that term is defined by
                                      4         California Civil Code §1788.2(d) and 15 U.S.C. 1692a(5), and a “consumer
                                      5         debt” as that term is defined by California Civil Code §1788.2(f).
                                      6      21. Sometime thereafter, Plaintiff allegedly fell behind in the payments
                                      7         allegedly owed on the alleged debts. Plaintiff currently takes no position as
                                      8         to the validity of the alleged debt.
                                      9      22. Subsequently, the alleged debt was allegedly assigned, placed, or otherwise
                                      10        transferred, to Defendant for collection activity.
                                      11     23. As a result of Defendant’s collection activity, Plaintiff demanded, via
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                                      12        certified mail, that Defendant cease and desist all collection activity with
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                                      13        regard to Plaintiff’s alleged debt. Said demand was received by Defendant
                                      14        at 7:37 a.m. on October 20, 2014.
                                      15     24. Despite receipt of Plaintiff’s demand, Defendant contacted Plaintiff directly
                                      16        in an attempt to collect Plaintiff’s alleged debt via written communication
                                      17        dated October 28, 2014.
                                      18     25. Such contact following receipt of Plaintiff’s cease and desist request
                                      19        constitutes a violation of 15 U.S.C. § 1692c(c). This section is incorporated
                                      20        into the RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendant also
                                      21        violated Cal. Civ. Code § 1788.17.
                                      22     26. Moreover, Defendant’s October 28, 2014 written communication was also
                                      23        written in Spanish, a language that Plaintiff is unable to read. Said written
                                      24        communication further confused Plaintiff while causing emotional distress
                                      25        since Plaintiff was unable to interpret Defendant’s collection attempt.
                                      26     27. Through this conduct, Defendant violated 15 U.S.C. § 1692e by using false,
                                      27        deceptive, and misleading representations in connection with the collection
                                      28        of Plaintiff’s alleged debt.


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                                      1          28. Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by using
                                      2             false representations and deceptive means in connection with the collection
                                      3             of Plaintiff’s alleged debt.
                                      4          29. Through this conduct, Defendant violated 15 U.S.C. § 1692f by using unfair
                                      5             and unconscionable means in connection with the collection of Plaintiff’s
                                      6             alleged debt.
                                      7          30. As described herein, Defendant engaged in illegal collection activity with
                                      8             regard to Plaintiff’s alleged debt. Such activity constitutes violations of 15
                                      9             U.S.C. §§ 1692c(c); 1692e; 1692e(10); 1692f; and, 1692f(1). In addition,
                                      10            Defendant has also violated Cal. Civ. Code § 1785.25(a).
                                      11                                           COUNT I
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                                      12          VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
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                                      13                                   15 U.S.C. §§ 1692 ET SEQ.
                                      14                                 [AGAINST ALL DEFENDANTS]
                                      15         31. Plaintiff incorporates by reference all of the above paragraphs of this
                                      16            Complaint as though fully stated herein.
                                      17         32. The foregoing acts and omissions constitute numerous and multiple
                                      18            violations of the FDCPA, including but not limited to each and every one of
                                      19            the above-cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq.
                                      20         33. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                      21            any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
                                      22            for a knowing or willful violation in the amount up to $1,000.00 pursuant to
                                      23            15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs
                                      24            pursuant to 15 U.S.C. § 1692k(a)(3) from each Defendants individually.
                                      25   ///
                                      26   ///
                                      27   ///
                                      28   ///


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                                      1                                               COUNT II
                                      2          VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                      3                                 Cal. Civ. Code § 1788, et seq.
                                      4                                 [AGAINST ALL DEFENDANTS]
                                      5          34. Plaintiff incorporates by reference all of the above paragraphs of this
                                      6             Complaint as though fully stated herein.
                                      7          35. The foregoing acts and omissions constitute numerous and multiple
                                      8             violations of the RFDCPA.
                                      9          36. As a result of each and every violation of the RFDCPA, Plaintiff is entitled
                                      10            to any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                      11            damages for a knowing or willful violation in the amount up to $1,000.00
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                                      12            pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorneys fees and
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                                      13            costs pursuant to Cal. Civ. Code § 1788.30(c) from each Defendant
                                      14            individually.
                                      15                                     PRAYER FOR RELIEF
                                      16   WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                                      17            • An award of actual damages, in an amount to be determined at trial,
                                      18               pursuant to Cal. Civ. Code § 1788.30(a), for Plaintiff;
                                      19            • An award of actual damages, in an amount to be determined at trial,
                                      20               pursuant to 15 U.S.C. § 1692k(a)(1), against each named Defendant
                                      21               individually;
                                      22            • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                      23               § 1788.30(b), for Plaintiff;
                                      24            • An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                      25               1692k(a)(2)(A), against each named Defendant individually;
                                      26            • An award of costs of litigation and reasonable attorney’s fees, pursuant
                                      27               to Cal. Civ. Code § 1788.30(c);
                                      28   ///


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                                      1         • An award of costs of litigation and reasonable attorney’s fees, pursuant
                                      2            to 15 U.S.C. § 1692k(a)(3), against each named Defendant individually;
                                      3         • An award of actual damages, in an amount to be determined at trial,
                                      4            pursuant to Cal. Civ. Code § 1785.31(a)(2)(A), against each named
                                      5            Defendant individually;
                                      6         • Any and all other relief that this Court deems just and proper.
                                      7                                      TRIAL BY JURY
                                      8      37. Pursuant to the Seventh amendment to the Constitution of the United States
                                      9         of America, Plaintiff is entitled to, and demands, a trial by jury.
                                      10
                                      11
                                           Dated: November 25, 2014                                     Respectfully submitted,
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                                      13
                                                                                              KAZEROUNI LAW GROUP, APC
                                      14
                                      15                                                     By: ___/s/ Matthew M. Loker___
                                                                                                   MATTHEW M. LOKER, ESQ.
                                      16
                                                                                                    ATTORNEY FOR PLAINTIFF
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